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 1                                UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
 3                                     SAN FRANCISCO DIVISION
 4   RE CATHODE RAY TUBE (CRT)                            No. 07-cv-5944-SC
     ANTITRUST LITIGATION,                                MDL No. 1917
 5

 6   This Document Relates to:                            [PROPOSED] ORDER GRANTING
                                                          THOMSON SA’S MOTION TO AMEND
 7   Sharp Electronics Corp., et al. v. Hitachi,          ITS ANSWERS AND FOR PARTIAL
     Ltd., et. al., No. 13-cv-01173                       RELIEF FROM THE COURT’S ORDER
 8                                                        RE: THOMSON DISCOVERY
 9   Electrograph Systems, Inc. et al. v.
     Technicolor SA, et al., No. 13-cv-05724;
10
     Alfred H. Siegel, as Trustee of the Circuit
11   City Stores, Inc. Liquidating Trust v.
     Technicolor SA, et al., No. 13-cv-00141;
12

13   Best Buy Co., Inc., et al. v. Technicolor SA,
     et al., No. 13-cv-05264;
14
     Interbond Corporation of America v.
15   Technicolor SA, et al., No. 13-cv-05727;
16   Office Depot, Inc. v. Technicolor SA, et al.,
17   No. 13-cv-05726;

18   Costco Wholesale Corporation v.
     Technicolor SA, et al., No. 13-cv-05723;
19
     P.C. Richard & Son Long Island
20   Corporation, et al. v. Technicolor SA, et al.,
21   No. 31:cv-05725;

22   Schultze Agency Services, LLC, o/b/o
     Tweeter Opco, LLC, et al. v. Technicolor SA,
23   Ltd., et al., No. 13-cv-05668;
24
     Sears, Roebuck and Co. and Kmart Corp. v.
25   Technicolor SA, No. 3:13-cv-05262;

26   Target Corp. v. Technicolor SA, et al., No.
     13-cv-05686;
27
     Tech Data Corp., et al. v. Hitachi, Ltd., et
28
     [PROPOSED] ORDER RE THOMSON SA’S MOTION FOR      1                   No. 07-5944-SC; MDL No. 1917
     LEAVE TO AMEND AND FOR PARTIAL RELIEF FROM
     DISCOVERY ORDER
     Case 4:07-cv-05944-JST Document 3214-23 Filed 12/18/14 Page 2 of 2



 1   al., No. 13-cv-00157;
 2   ViewSonic Corporation, v. Chunghwa
     Picture Tubes, Ltd., et al., 3:14cv-02510;
 3
     Crago, et al. v. Mitsubishi Electric Corp.,
 4   No. 14-cv-02058.
 5

 6
            Upon consideration of Thomson SA’s Motion to Amend its Answers and for Partial Relief
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     from the Court’s Order re: Thomson Discovery, the Court hereby GRANTS the motion and
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     ORDERS that:
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            1.      Thomson SA is granted leave to amend its Answers in each of the above-captioned
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     matters;
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            2.      Thomson SA’s affirmative defense of personal jurisdiction is deemed waived with
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     prejudice in the above-captioned actions only; and
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            2.      Thomson SA is relieved of its obligation to comply with the Court’s October 23,
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     2014 Order re: Thomson Discovery with regard to documents and testimony solely responsive to
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     the following discovery requests: DAPs’ First Set of Requests for Production to Thomson SA,
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     Nos. 36-37, 46-60; Second Amended Notice of Deposition of Thomson SA Pursuant to Fed. R.
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     Civ. P. 30(b)(6), Nos. 13, 14, 20, 21, 24, 25, 31.
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            IT IS SO ORDERED.
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     DATED:
22                                                            Hon. Samuel Conti
                                                              United States District Judge
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     [PROPOSED] ORDER RE THOMSON SA’S MOTION FOR          2                    No. 07-5944-SC; MDL No. 1917
     LEAVE TO AMEND AND FOR PARTIAL RELIEF FROM
     DISCOVERY ORDER
